      CASE 0:23-cv-00853-ECT-DJF            Doc. 138-2     Filed 02/20/25      Page 1 of 3




                                      November 5, 2024

VIA EMAIL ONLY

Tracey N. Fussy, Esq.
Munazza Humayun, Esq.
Sara Lathrop, Esq.
Adam Szymanski, Esq.
City of Minneapolis – City Attorney’s Office
105 Fifth Avenue S., Ste. 200
Minneapolis, MN 55401

Re:    Pro-Life Action Ministries v. City of Minneapolis, No. 0:23-cv-00853 (D. Minn.);
       Settlement Demand (Inadmissible Pursuant to Fed. R. Evid. 408)

Dear Counsel:

       As you know, Judge Foster entered an order on October 25, 2024, requiring
the parties to meet and confer regarding possible settlement by November 1, 2024.
On October 31, 2024, counsel met via Microsoft Teams.

       Plaintiffs propose to settle their lawsuit through entry of an injunction
preventing the enforcement or attempted enforcement of Chapter 405 of the
Minneapolis Code of Ordinances by the City and an award of nominal damages
($1.00) as well as an award to Plaintiffs of reasonable attorneys’ fees and costs of the
action, in such amount as either agreed to by the parties or determined by the Court.
This would resolve all claims in the action, including the parties’ pending discovery
disputes.

       As to the issue of attorneys’ fees, Plaintiffs’ counsel have expended
considerable time on this matter, including time preparing the case and initial
pleadings, defending against the City’s motion to dismiss, along with time taking and
defending (to date) seven depositions and time engaging in extensive written
discovery, including the time necessary to resolve numerous discovery disputes. If
this matter proceeded to litigation, we believe we would be entitled to either a
national rate or a Chicago rate for our Thomas More Society attorneys. See, e.g., See
Intervarsity Christian Fellowship/USA v. Univ. of Iowa, No. 3:18-cv-00080-SMR-SBJ
(S.D. Iowa), Dkt. #100, at pg. 8; see also id., 2021 WL 12096987, at *2 (S.D.Iowa Nov.
18, 2021) (noting similar firm to Thomas More Society entitled to at least a


309 West Washington Street | Suite 1250 | Chicago, IL 60606 | 312.782.1680 | thomasmoresociety.org
                                                                                   Lathrop Ex. 2
     CASE 0:23-cv-00853-ECT-DJF             Doc. 138-2     Filed 02/20/25      Page 2 of 3




(significantly reduced from market rates) range between $759/hr. to $914/hr., and
recognizing that a “national market rate [ ] provide[d] the reasonable hourly rate”
given “the complex nature of the constitutional issues presented” and the extensive
experience of plaintiffs’ counsel). However, for purposes of the present settlement
discussions, we are willing to apply a Minneapolis rate. The hours asserted here, for
settlement purposes, do not reflect the full amount of time spent by all personnel on
the case. And of course, these amounts will increase significantly if we are forced to
litigate this matter through trial.

      The reduced rate and time for each attorney and paralegal we present, for
settlement purposes only, are as follows:

 Attorney/Paralegal                Rate                   Hours                    Total
 Peter Breen                       $750                   174.5                $130,875.00
 Erick Kaardal                     $750                    12.6                  $9,450.00
 Joan M. Mannix                    $750                    14.5                 $10,875.00
 Michael McHale                    $625                    10.2                  $6,375.00
 B. Tyler Brooks                   $625                   520.4                $325,250.00
 Elizabeth Nielson                 $450                    2.9                   $1,305.00
 Nathan Loyd                       $450                   340.7                $153,315.00
 Paralegal                         $250                    73.1                 $18,275.00

       The above comes to a total of $655,720.00.

       The Court’s October 25 Order further directs the parties to each submit a letter
“describing the settlement discussions that have taken place, whether and when the
party believes a settlement conference or private mediation might be most productive,
and what additional discovery or motion practice might be needed to maximize the
chances of reaching a settlement in such a conference.” Plaintiffs are willing to engage
in a settlement conference hosted through the Court, if the City believes that it might
help resolve this matter. Plaintiffs believe that any such mediation would be more
effective if conducted prior to the parties’ filing of motions for summary judgment.

       With respect to the issue of additional discovery or motion practice, we intend
to inform the Court in our letter that we will file a motion for summary judgment at
the appropriate time. Additionally, there is the pending discovery dispute as to
whether the City has waived its claims of privilege, which the Court will hear on
November 26. Further, as we advised in our conference last Thursday, Plaintiffs also
object to the City’s untimely and manifestly improper attempt to disclose four wholly
new witnesses as part of its “amended” Rule 26(a) initial disclosures. We will inform
the Court that there this issue may require its intervention if we are unable to resolve


309 West Washington Street | Suite 1250 | Chicago, IL 60606 | 312.782.1680 | thomasmoresociety.org
                                                                                   Lathrop Ex. 2
      CASE 0:23-cv-00853-ECT-DJF            Doc. 138-2     Filed 02/20/25      Page 3 of 3




it amongst ourselves.

       Please let us know the City’s response to our settlement demand at your
earliest convenience.

                                             Very truly yours,

                                             /s/Peter Breen
                                             Peter Breen
                                             Executive Vice President &
                                             Head of Litigation

                                             /s/B. Tyler Brooks
                                             B. Tyler Brooks
                                             Senior Counsel

                                             Joan M. Mannix
                                             Executive Vice President &
                                             Managing Counsel

                                             Nathan Loyd
                                             Staff Counsel




cc:    Erick Kaardal, Esq.
       Elizabeth Nielson, Esq.




309 West Washington Street | Suite 1250 | Chicago, IL 60606 | 312.782.1680 | thomasmoresociety.org
                                                                                   Lathrop Ex. 2
